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 1
                              UNITED STATES DISTRICT COURT
 2
                                EASTERN DISTRICT OF CALIFORNIA
 3

 4    UNITED STATES OF AMERICA,                        CASE NO. 1:08-CR-00297-(3)-LJO
 5                            Plaintiff,
                                                       ORDER SETTING BRIEFING SCHEDULE
 6           v.
 7    JUSTO MATA BUSTOS,
 8                            Defendant.               (ECF NO. 63)
 9

10          On June 22, 2016, the Federal Defender’s Office (“FDO”), on behalf of Petitioner Justo Mata
11   Bustos, filed a motion pursuant to Title 28, United States Code, Section 2255 (“Section 2255
12   Motion”), raising issues related to Johnson v. United States, 135 S. Ct. 2551 (2015), and Welch v.
13   United States, 136 S. Ct. 1257 (2016). See ECF No. 63. Accordingly,
14          IT IS HEREBY ORDERED that from the date of the FDO’s filing, the government shall
15   file a response to Petitioner’s Section 2255 Motion within 60 days (on or before August 22, 2016).
16   From the date of the Government’s filing, the FDO shall have 60 days to file a reply.
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     IT IS SO ORDERED.
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19      Dated:     July 5, 2016                           /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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